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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 ALFRED JOHNSON,                                 )   CASE NO. 1-23-CV-02193
                                                 )
               Plaintiff,                        )
 v.                                              )   JUDGE JAMES S. GWIN
                                                 )
 CITY OF CLEVELAND, et al.,                      )
                                                     Magistrate Judge Jennifer Dowdell
                                                 )
              Defendants.                        )   Armstrong
                                                 )
                                                 )
                                                 )



                                 DEFENDANTS’ OPPOSITION
                            TO PLAINTIFF ALFRED JOHNSON’S TRO


       There is no emergency here. Plaintiff Alfred Johnson is a police officer for the City of

Cleveland. Six weeks ago, Johnson was demoted from a commander to a sergeant and suspended

for 30 days. The demotion was effective immediately and the suspension served. Yet Johnson

seeks the extraordinary relief of a temporary restraining order to be reinstated and receive back

pay. (Mot., ECF No. 1-3).

       Because Johnson seeks to change the status quo, rather than preserve it, Defendants City

of Cleveland, Dornat Drummond, Joellen O’Neill, and Jarod Schalacht, ask this Court to deny

the TRO. Johnson should instead pursue relief through his grievance and EEOC charge.

  I.   BACKGROUND

       Six weeks ago, Johnson was removed as the commander of the Bureau of Special

Services and demoted to sergeant, a move that has led to a grievance and a charge filed with the

EEOC and OCRC, and finally this TRO.

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        A. Sgt. Alfred Johnson is promoted to commander.

        Cleveland is a municipal corporation organized under the laws of Ohio. It maintains a

Division of Police. The Division of Police has a chain of command. That chain of command

generally goes from, with ascending responsibility, patrol officer, sergeant, lieutenant, captain,

commander, deputy chief, to chief of police.

        From 2012 to 2021, Johnson served as a member of the Gang Impact Unit (“GIU”). He

was first promoted to sergeant, and then commander in late 2021. (Compl., ¶ 17). As a sergeant

and then as the commander, Johnson had supervisory responsibility over the patrol officers of the

GIU.1

        B. Johnson receives notice of discipline and then an evidentiary hearing on July 6
           and July 7.

        After an anonymous complaint, Cleveland’s Internal Affairs Unit started investigating the

GIU in late 2021 regarding conduct that occurred under Johnson. The allegations included,

among other things, the excessive use of force and the regular failure by patrol officers to

properly use their Wearable Camera Systems (i.e., body cams). As the supervising officer,

Johnson had a responsibility to ensure that the patrol officers carried out their duties.

        Because there was sufficient evidence to show that Johnson may have failed to supervise,

among other potential violations, he was issued pre-disciplinary letters. (Exhibit A, Pre-

Disciplinary Letters from June 2023). The letters explained the charges against him. (Id.). He and

his attorney also received a copy of the evidence.

        On July 6 and July 7, Johnson was then afforded a hearing to respond to the charges. The

hearing was held on the record. (Exhibit B, July 6, 2023 Hearing Transcript; Exhibit C, July 7,



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       Johnson’s responsibilities as the Commander of the Bureau of Special Services included
other units too, such as the Narcotics Unit and SWAT Unit.
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2023, Hearing Transcript). Johnson was represented by counsel, Attorney Christopher McNeal.

(See Exhibit B, p. 1). There was also a presentation of evidence and examination of witnesses.

(See id.).

        C. Johnson is suspended and demoted on September 23, 2023.

        Most of the charges against Johnson were substantiated. (Exhibit D, Disposition Letter

Dated September 22, 2023). Johnson was issued a “Thirty (30) workday suspension” and,

effective immediately, the disposition letter notified Johnson, “[Y]our appointment as

Commander is revoked and you shall return to your civil service rank of Sergeant.” (Id., p. 7).

The next day, September 23, 2023, Johnson began serving his discipline. (Exhibit E, Divisional

Notice 23-285).

        D. Johnson files a grievance and charge of discrimination.

        Johnson’s employment is subject to a labor agreement. (Exhibit F, FOP Labor

Agreement). Under the labor agreement, Johnson may appeal his suspension through the

grievance process. (Id.). He did so by filing a grievance. (Exhibit G, Grievance No. 2023-03). A

Step 3 hearing was recently held. The grievance resolution process remains unexhausted.

        Johnson has challenged his suspension and demotion through other administrative

procedures too. Johnson recently filed a charge of discrimination with Equal Employment

Opportunity Commission and the Ohio Civil Rights Commission. (Charge, ECF No. 1-4).

Johnson has not received a right-to-sue letter from either entity. (Compl., ¶ 38).

        E. After serving his suspension, Johnson now brings this litigation.

        Johnson has served his suspension and has been demoted. He has also initiated—but not

exhausted—two administrative processes: the grievance process and the Charge process. He now

seeks a temporary restraining order. (See Compl.). The proposed TRO would “restor[e] his

former rank of Commander immediately” and provide back pay, among other relief. (Id., ¶ 57).

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Johnson brings multiple counts, including allegations of employment discrimination, defamation,

and civil conspiracy, among other things.

       Because Johnson seeks to alter the status quo and he is unlikely to succeed on the merits

of his claims, Defendants oppose Johnson’s requested TRO.

 II.   STANDARD OF REVIEW

       A temporary restraining order is an “extraordinary remedy” granted “only where

preventative or protective relief is required.” The Rightthing, LLC v. Brown, No. 3:09 CV 135,

2009 WL 249694, at *6 (N.D. Ohio Feb. 2, 2009) (citing Sternberg v. Checker Oil Co., 573 F.2d

921, 925 (6th Cir.1978)). The purpose of a TRO is to “maintain the status quo pending a final

hearing regarding the parties’ rights.” Seaman Corp. v. Flaherty, No. 5:20-CV-443, 2020 WL

5223614, at *3 (N.D. Ohio Aug. 3, 2020) (citing Burniac v. Wells Fargo Bank, N.A., 810 F.3d

429, 435 (6th Cir. 2016)).

       In determining whether to maintain the status quo, a plaintiff must show by clear and

convincing evidence that he is entitled to relief balancing four factors:

        (1) likelihood of success on the merits; (2) irreparable harm absent injunctive
       relief; (3) substantial harm to others from the proposed injunction; and (4) the
       broader public interest.

Seaman Corp. v. Flaherty, No. 5:20-CV-443, 2020 WL 5223614, at *3 (N.D. Ohio Aug. 3,

2020) (citation omitted).

       Because Johnson seeks to alter the status quo, and is unlikely to succeed on the merits,

this Court should deny the requested TRO. Dean v. Ohio Dep’t of Mental Health & Addiction

Servs., No. 5:16-CV-1087, 2016 WL 2604220, at *2 (N.D. Ohio May 6, 2016) (Gwin, J.)

(denying public employee’s motion for TRO to halt disciplinary process).




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III.   ANALYSIS

       This Court should deny the TRO because Johnson seeks reinstatement and is unlikely to

succeed on the merits.

       A. Because Johnson was removed from his position six weeks ago, Johnson’s TRO
          is an attempt to alter the status quo, so it should be denied.

       Johnson is a sergeant and seeks to become a commander through this Court, so the

requested TRO should be denied. An injunction “cannot be used to redress a purely past injury.”

Kentucky v. Yellen, 54 F.4th 325, 339 (6th Cir. 2022). So a TRO or preliminary injunction that

seeks to alter the status quo should be denied. See, e.g., AMERICAN-ARAB ANTI-

DISCRIMINATION COMMITTEE v. UNITED STATES DEPARTMENT OF HOMELAND

SECURITY, No. 23-12436, 2023 WL 7170658, at *2 (E.D. Mich. Sept. 27, 2023) (“This Court

cannot prevent an action that has already occurred”); Jarrett v. Greene, No. 1:22-CV-456, 2022

WL 3354152, at *3 (S.D. Ohio Aug. 15, 2022) (denying TRO because it seeks to “change, rather

than preserve, the status quo”), report and recommendation adopted, No. 1:22-CV-456, 2022

WL 4292833 (S.D. Ohio Sept. 16, 2022).

       Here, this Court should deny the TRO because it would alter the status quo. Johnson

received his suspension and demotion six weeks ago on September 22, 2023. (Exhibit D,

September 22, 2023 Disposition letter). So Johnson is no longer a commander, and has already

served his 30-day suspension. Johnson concedes as much. (Pl. Mot., ECF No. 1-3). There is no

emergency here. And by seeking reappointment and back pay, he seeks to alter the status quo in

his favor. This means the TRO should be denied.




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       B. Alternatively, because Johnson is unlikely to succeed on the merits, this Court
          should deny the TRO application.

       This Court should deny the TRO because it would reinstate Johnson to the position of

commander six weeks after his removal. Alternatively, Johnson is unlikely to succeed on the

merits, so this Court should deny the TRO.

               1. Johnson failed to exhaust his employment claims.

       Because Johnson failed to administratively exhaust his employment claims, he is unlikely

to succeed on the merits. Federal employment claims require administrative exhaustion with the

EEOC. Younis v. Pinnacle Airlines, Inc., 610 F.3d 359, 361 (6th Cir. 2010); 29 C.F.R. § 1601.12(b).

Ohio employment claims require exhaustion with the OCRC. See R.C. 4112.052(B)(2)(b). A

failure to exhaust requires dismissal of the claims. See Younis, 610 F.3d at 361.

       Here, Johnson failed to exhaust his administrative remedies, so he is unlikely to succeed

on the merits. Johnson appears to bring federal and state employment claims. (Charge, ECF No.

1-4). This is shown by the dual-filed charge and the Complaint. (Compl., ¶¶ 42–48). But he has

not received a right-to-sue letter. He concedes as much. (Compl., ¶ 32). Therefore, he failed to

exhaust his administrative remedies and this Court should deny the TRO.

               2. Johnson’s remaining claims, if any, are preempted by the labor
                  agreement.

       Because Johnson’s other claims relate to the discipline process, these claims are

preempted by the labor agreement, so this Court should deny the TRO. Johnson is a public

employee. The terms of his employment are governed by R.C. Chapter 4117 and the labor

agreement negotiated by the FOP and the City. Chenevey v. Greater Cleveland Reg’l Transit

Auth., 2013-Ohio-1902, 992 N.E.2d 461, ¶14-18 (8th Dist.) (“Chapter 4117 of the Ohio Revised

Code governs disputes between an employer and an employee where a CBA is in place.”).



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       The “dispositive test” in determining whether a court has jurisdiction over a claim by a

party to a CBA is whether the party’s claims “arise from or depend on the collective bargaining

rights” outlined by Chapter 4117. State ex rel. Cleveland v. Sutula, 127 Ohio St.3d 131, 2010

Ohio 5039, 937 N.E.2d 88, ¶20, quoting Franklin Cty. Law Enforcement Assn. at paragraph 2 of

the syllabus; Gudin v. W. Reserve Psychiatric Hosp., 10th Dist. No. 00AP-912, 2001 Ohio App.

LEXIS 2634 (June 14, 2001) (finding state-law claims are preempted where the state-law claim

is based on rights created by the CBAs or the rights are created by state law, but the application

of the law is dependent on an interpretation of a CBA).

       Here, Johnson brings a string of claims arising from the labor agreement so this Court

should deny the TRO. The labor agreement addresses the investigation of disciplinary conduct.

(Exhibit F, Article 4, p. 7). The labor agreement addresses the hearing and discipline. (Id.,

Article 11, p. 18). And then the labor agreement provides a post-discipline appeal. (Id., Article

20, p. 30). Johnson now alleges that this process was flawed, including that investigation was

unfair (Compl., ¶ 35) (Count One), the hearing was unfair (id., ¶ 40) (Count Two), bad things

were said about him at the hearing (id., ¶ 48) (Count Four), and that it caused him harm (id., ¶

54) (Count Five). Yet these allegations arise from the labor agreement. So what Johnson is really

complaining about is how the labor agreement was carried out by the City. This conclusion is

confirmed by his grievance. (Exhibit G, Grievance No. 2023-03).

       Because the Johnson’s claims depend or arise from the labor agreement, this Court

should deny the TRO.

               3. Johnson cannot bring a breach of contract claim to enforce the labor
                  agreement.

       Johnson cannot bring a breach of contract claim to enforce the labor agreement, so this

Court should deny the TRO. Under Ohio law, a public employee cannot bring a breach of


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contract claim against a public employer to enforce a labor agreement. See, e.g., Bailey v.

Beasley, 10th Dist. Franklin No. 09AP-682, 2010-Ohio-1146, ¶ 16 (public employee could not

“sidestep final and binding arbitration required by a collective bargaining agreement”); United

Electrical, Radio & Machine Workers of America v. Delaware City School Dist. Bd. of Educ.,

5th Dist. Delaware No. 00CAH004010, 2001 WL 1773882, *3 (employee is not a party to a

labor agreement and therefore cannot bring a cause of action); Mun. Constr. Equip. Operators’

Lab. Council v. Cleveland, 2016-Ohio-5934, ¶ 19, 71 N.E.3d 655, 660 (union could not bring

breach of contract claim).

       Here, Johnson cannot bring a breach of contract claim, so this Court should deny the

TRO. Johnson alleges that the City’s investigation and discipline violated the labor agreement.

(Compl., ¶ 38) (Count Two). But Johnson is not a party to the labor agreement. (See Exhibit F,

CBA). The labor agreement is instead between the City and the FOP. As a result, Johnson cannot

bring a breach of contract claim.

       Because the FOP, not Johnson, is a party to the labor agreement, this Court should deny

the TRO.

               4. Johnson is unlikely to succeed on his IIED claim

       Because Johnson’s Intentional Infliction of Emotional Distress claim is just a repackaged

employment claim, this Court should deny the TRO. To establish an IIED claim under Ohio law,

Plaintiffs must show, in part, that Defendants’ conduct was “extreme and outrageous.” Culler v.

Exal Corp., 193 F. Supp. 3d 850, 851-52 (N.D. Ohio Jun. 15, 2016) (granting motion to dismiss

IIED claim); Yeager v. Local Union 20, 6 Ohio St. 3d 369, 453 N.E.2d 666 (1983). “Ohio places

a particularly high bar on ‘extreme and outrageous’ conduct in the employer-employee

relationship.” Culler, 193 F. Supp. 3d at 852.

       As the Sixth Circuit has explained, “an employee’s termination, even if based upon
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discrimination, does not rise to the level of ‘extreme and outrageous conduct’ without proof of

something more.” Talley v. Family Dollar Stores of Ohio, Inc., 542 F.3d 1099, 1111 (6th Cir.

2008) (quoting Godfredson v. Hess & Clark, Inc., 173 F.3d 365, 376 (6th Cir. 1999)); see also

McIntosh v. Greater Cleveland Reg’l Transit Auth., No. 1:16CV1680, 2016 U.S. Dist. LEXIS

141250, * 10 (N.D. Ohio 2016) (granting motion to dismiss IIED claim and collecting cases). If

“workplace discrimination and retaliation could also support an IIED claim, every Title VII case

would also be a state-law tort case. That is not correct, however, given that IIED claims must

involve conduct that is worse than criminal.” Holland v. Health, No. 3:18CV490, 2018 U.S.

Dist. LEXIS 196939, *33 (N.D. Ohio Nov. 19, 2018).

       Here, Johnson cannot convert his employment claim into an IIED claim, so this Court

should deny the TRO. Johnson alleges that his discipline was unfair. He frames this various

ways, including as a civil conspiracy, breach of contract, and unlawful discrimination. (Compl.).

But these allegations are contrary to what happened, including a thorough investigation (Exhibit

A, Pre-Disciplinary Letters), evidentiary hearing (Exhibits B, C, Transcripts), and now an appeal.

(Exhibit G, Grievance No. 2023-03). There is nothing extreme and outrageous here by

Defendants.

       Because Johnson cannot convert his employment grievances into an IIED claim, this

Court should deny the TRO.

               5. Johnson is unlikely to succeed on his defamation claim.

       Because any statements were true, and part of an employment proceeding, this Court

should deny the TRO. A defamation claim requires five elements. Garofolo v. Fairview Park,

8th Dist. Cuyahoga No. 92283, 2009-Ohio-6456, ¶ 17.2 One element is that the statement must



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       The claims in Garfolo roughly parallel all the same state-law claims here.
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be false. Id. But statements made during an employment proceeding are afforded an absolute

privilege to defamation claims. Id., ¶ 21 (“[B]ecause the statements were made at a union

grievance meeting, they were privileged communications.”); Gintert v. WCI Steel, Inc., 11th

Dist. Trumbull No. 2002-T-0124, 2007-Ohio-6737, ¶ 21 (“Under the doctrine of qualified

privilege, statements made in good faith on a matter of common interest between an employer

and an employee, or between two employees, concerning a third employee are protected in an

action for defamation.”).

       Here, Johnson cannot show the elements of defamation claim, and any statements were

made during an internal affairs investigation and disciplinary hearing, so this Court should deny

the TRO. First, given Cleveland’s thorough investigation, Johnson cannot show that Defendants

made false statements. Second, any statements were part of Cleveland’s investigation. (See, e.g.,

Exhibit A, Pre-Disciplinary Letters). This affords Defendants absolute immunity from false

statements.

       Because Defendants made true statements, and did so during a quasi-judicial process, this

Court should deny the TRO.

               6. Johnson’s remaining claims also fail.

       Johnson’s remaining claims also fail. Johnson could be arguing that the pre-disciplinary

process was unfair in violation of the U.S. Constitution and 42 U.S.C. § 1983. (Compl., ¶¶ 38–

42). But Cleveland’s pre-disciplinary process is constitutional so long as there is notice of the

charges, the factual basis for the allegations, the opportunity to respond, and then a post-

discipline appeal process. See Cromer v. City of Cleveland, No. 20-CV-2080, 2021 WL 293046,

at *4 (N.D. Ohio Jan. 28, 2021) (finding Cleveland’s pre-disciplinary process satisfied Due

Process).



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       Here, Johnson received the required Due Process and then some. He received a detailed

notice of the charges. (Exhibit A, Pre-Disciplinary letters). Then he received a multi-day hearing

on the record, with counsel. (Exhibits B, C, Hearing Transcripts). And finally, he is now

exercising his appeal for a post-discipline review. (Exhibit G, Grievance No. 2023-03). Johnson

has received well beyond what is required by law.

       Because any other claims brought by Johnson also fail, this Court should deny the TRO.

       C. Alternatively, because the remaining TRO factors favor denial, this Court
          should deny the TRO.

       Johnson has already left the commander position, and his reinstatement would hurt the

City and the Public, so the remaining factors favor denying the TRO.

               1. There is no irreparable harm to Johnson if the TRO is denied.

       There is no irreparable harm to Johnson, so this Court should deny the TRO. Johnson is

no longer a commander and has already served the 30-day suspension. The harm to Johnson, if

any, has already been suffered, and could be paid for in monetary damages. Therefore, there

cannot be irreparable harm if the TRO denied. So this Court should deny the TRO.

               2. The City of Cleveland would be harmed by the TRO.

       Because the City of Cleveland would be harmed by reinstating Johnson as a commander,

this Court should deny the TRO. Reinstating Johnson would cause organizational chaos. The

Commander of the Bureau of Special Services has significant responsibilities over around 50

officers. This includes supervising officers in the Gang Impact Unit, Narcotics Unit/ Heroin

Involved Death Investigation, SWAT Unit and Task Forces, including the Crime Gun

Intelligence Center and Homeland Security Investigation. This is important work, and a clear

chain of command allows officers facing life-and-death challenges to respond properly. Should

this Court remove the current Acting Commander and replace him with Johnson to provide


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oversight for an indefinite period, these life-and-death decisions would become more difficult,

harming Cleveland.

       Because reinstating Johnson would harm Cleveland, this Court should deny the TRO.

               3. The public would be harmed by the TRO.

       The public would be harmed by reinstating Johnson, so this Court should deny the TRO.

The Division of Police is a paramilitary organization. Like all paramilitary organizations, a clear

chain of command is required. Disrupting the chain of command, as would be the case should

this Court reinstate Johnson as a commander, risks decreasing the level of service provided to the

public. This is particularly true given the substantiated allegations against Johnson, including a

failure to monitor excessive force and a failure to follow the body cam policy. Therefore, the

TRO should be denied.

       D. The TRO is procedurally defective so it should be denied.

       The TRO should be denied as procedurally defective for two reasons. First, Johnson

failed to provide evidence to support the motion. Gray Data, Inc. v. Davian, No. 1:23-CV-1470,

2023 WL 5352048, at *5 (N.D. Ohio Aug. 21, 2023). Second, Johnson failed to provide a bond

or seek waiver. See Fed. R. Civ. P. 65(c).

       Because the TRO is procedurally defective, this Court should deny the TRO.

IV.    CONCLUSION

       For all these reasons, this Court should deny the TRO.




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                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify the above was filed electronically this 13th of November, 2023. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system. Additionally, I served on November 13, 2023,

Plaintiff’s counsel by email at the following address: chris@mcneallegalservices.com.



                                                             s/ Matthew R. Aumann
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